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UNITED STATES DISTRICT COURT ‘f“~ED f`¢`»"€ 71_....- €>.c. ~

 

 

 

 

FOR THE WE§]I`§SR§;IERD;IS§§$S”§§§ TENNESSEF05 JUL 20 AH £0: 05

EDGAR JOHNSON, )

Plaintiff, §
v. l No. 03~2567 _ D/P /
I-IOME TECH SERVICES CO., INC., ET AL., §

Defenda.nts. §
BOBBIE J. CARR, )

Plaintiff, §
v. § No. 03-2569 _ D/P
I-IOME TECH SERVICES CO., ]NC., ET AL., §

Defendants. §
CHARLENE SPINKS, )

Plaintiff, §
v. § No. 03-2568 - DfP
HOME TECH SERVICES CO., INC., ET AL., §

Defendants. §

 

ORDER ON JOINT MOTION FOR NEW TRIAL DATES

 

Before the Court is the Joint Motion for New Trial Dates filed by all the parties. The

Cou.rt hereby finds that the Motion is well taken and should be granted.

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T.*'=is document entered on the docket sh m han

with Ru|e 58 and/or 79{a) FHCP on

 

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IT IS, THEREFORE, ORDER_ED, ADJUDGED AND DECREED that the trials Of these

cases are setfor q/\\/¢‘ZOOG "G)(` 03 -&Sb'l’) \O/\'¢/QOOE’ “F°(` O?-'»-RSGS `,
\O/zc>/aoee §er 03 -asm.
ITIS SO ORDERED,this[L ayo ` - »

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 245 in
case 2:03-CV-02567 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

